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             ORAL ARGUMENT NOT YET SCHEDULED

                                No. 22-1080
               Consolidated with Nos. 22-1144 and 1145


           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT



            NATURAL RESOURCES DEFENSE COUNCIL,

                                              Petitioner,
                                     v.

 NATIONAL HIGHWAY TRAFFIC SAFETY ADMINISTRATION, et al.,

                                              Respondents.


                          On Petition for Review
    of Action of the National Highway Traffic Safety Administration


               PROOF BRIEF OF PETITIONER
           NATURAL RESOURCES DEFENSE COUNCIL


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           CERTIFICATE AS TO PARTIES, RULINGS,
                   AND RELATED CASES

      Pursuant to Circuit Rule 28(a)(1), the undersigned counsel

  provides the following information for all consolidated cases.

      A. Parties and Amici curiae

      Petitioners

      In case number 22-1080, petitioner is the Natural Resources

  Defense Council.

      In case number 22-1144, petitioners are the States of Texas,

  Arkansas, Indiana, Kentucky, Louisiana, Mississippi, Montana,

  Nebraska, Ohio, South Carolina, and Utah.

      In case number 22-1145, petitioner is American Fuel &

  Petrochemical Manufacturers.

      Respondents

      In all consolidated cases, respondents are the National

  Highway Traffic Safety Administration; Ann Carlson, in her official

  capacity as Acting Administrator, National Highway Traffic Safety

  Administration; the United States Department of Transportation;

  and Pete Buttigieg, in his official capacity as Secretary, United

  States Department of Transportation.




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      Intervenors

      In case numbers 22-1144 and 22-1145, petitioner-intervenors

  are Clean Fuels Development Coalition; Diamond Alternative

  Energy, LCC; ICM, Inc.; Illinois Corn Growers Association; Kansas

  Corn Growers Association; Kentucky Corn Growers Association;

  Michigan Corn Growers Association; Minnesota Soybean Growers

  Association; Missouri Corn Growers Association; Texas Corn

  Producers Association; Wisconsin Corn Growers Association; and

  Valero Renewable Fuels Company, LLC.

      In case numbers 22-1144 and 22-1145, respondent-intervenors

  are Environmental Defense Fund; Environmental Law & Policy

  Center; National Coalition for Advanced Transportation; Natural

  Resources Defense Council; Public Citizen; Sierra Club; Union of

  Concerned Scientists; Zero Emission Transportation Association;

  the States of California, Colorado, Connecticut, Delaware, Hawaii,

  Illinois, Maine, Maryland, Michigan, Minnesota, Nevada, New

  Jersey, New Mexico, New York, North Carolina, Oregon, Vermont,

  Washington, and Wisconsin; the Commonwealths of Massachusetts

  and Pennsylvania; the District of Columbia; the City and County of

  Denver; and the Cities of Los Angeles, New York, and San

  Francisco.
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      Amici Curiae

      No individuals or entities have, as of yet, sought to participate

  as amicus curiae.

      B.     Ruling Under Review

      Petitioner challenges an action of the National Highway

  Traffic Safety Administration published as “Corporate Average

  Fuel Economy Standards for Model Years 2024-2026 Passenger

  Cars and Light Trucks” at 87 Fed. Reg. 25,710 (May 2, 2022).

      C.     Related Cases

      On July 1, 2022, this Court consolidated Case Nos. 22-1144

  and 22-1145 with this case. See Order, NRDC v. NHTSA,

  No. 22-1080 et al., Dkt. No. 1953265 (D.C. Cir.).




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                             GLOSSARY



    CAFE              Corporate Average Fuel Economy

    NHTSA             National Highway Traffic Safety Administration

    NRDC              Natural Resources Defense Council




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                           INTRODUCTION

     The Energy Policy and Conservation Act requires that motor

vehicle fuel economy standards be set at the maximum feasible level. To

that end, the Act directs the National Highway Traffic Safety

Administration to review the state of vehicle technology and project how

automakers can improve the fuel economy of their fleets. If technology

exists to improve fuel economy at a reasonable cost, the Act requires the

agency to set the highest standards achievable with that technology.

     To assess the feasibility of more stringent fuel economy standards,

the agency uses a computer model that projects the cost of adding

efficiency technologies to new vehicles. The agency first prepares a

“menu” of available technologies. The model then surveys the menu

and, starting with the most cost-effective upgrade, adds technologies to

vehicles until the fleet’s average fuel economy reaches given targets.

The technologies that are available for the model to consider are thus

critical to the agency’s assessment of the costs of future standards.

     When the agency set its most recent standards, however, it

arbitrarily excluded cost-effective technologies—so called high-

compression-ratio or “Atkinson-enabled” engines—from its compliance


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modeling for light trucks (pickups and sport utility vehicles). As a

result, the agency set standards below the mandated “maximum

feasible” level. Atkinson technologies are highly effective in cars. Light

trucks, the agency asserted, are bigger and usually operate at high load

(e.g. towing), so the technology must not provide any benefit.

     The record, however, says otherwise. Light trucks are mostly used

to ferry passengers and small payloads around. Atkinson-enabled

engines are designed with these uses in mind. During the routine

driving that dominates a truck’s daily use, these engines operate in a

higher efficiency mode. When more power is needed on occasion, such as

for towing, these engines automatically switch to a higher power mode.

     Moreover, the technology has been in use in light trucks since 2016,

starting with the Toyota Tacoma, the best-selling mid-size pickup in the

country. Other automakers followed, and by 2020 were selling half a

million light trucks each year with Atkinson technology. Based on the

record facts, the technology could be much more widely used, and the

agency’s exclusion of the technology from its compliance modeling was

arbitrary. The standards should be remanded to the agency to correct

its errors and reconsider setting stronger standards.


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                     JURISDICTIONAL STATEMENT

     Petitioner Natural Resources Defense Council (“NRDC”) seeks

review of a final rule of the National Highway Traffic Safety

Administration, published at 87 Fed. Reg. 25,710 (May 2, 2022). This

Court has jurisdiction under 49 U.S.C. § 32909(a)(1). The petition for

review was timely filed within 59 days of the rule’s publication. See id.

§ 32909(b).

                         ISSUE PRESENTED

     Whether the average fuel economy standards set for model years

2024–2026 were arbitrary, capricious, or contrary to law because the

agency excluded from its assessment an effective, lower-cost technology

that is in fact already in use on a significant number of vehicles.

                     STATUTES AND REGULATIONS

     Pertinent statutes and regulations are reproduced in an addendum

to this brief.

                      STATEMENT OF THE CASE

I.   Congress Requires the Agency to Set Fuel Economy
     Standards at Maximum Feasible Levels

     Motor vehicles use more petroleum by far than any other end-use

sector in the nation. See U.S. Energy Info. Admin., Use of Oil,


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https://www.eia.gov/energyexplained/oil-and-petroleum-products/use-of-

oil.php. Congress long ago recognized that inefficient motor vehicles

waste petroleum at significant cost to consumers and the national

economy and security. Spurred by the energy crisis created by the 1973

Mideast oil embargo, Congress enacted the Energy Policy and

Conservation Act, Pub. L. No. 94–163, 89 Stat. 871 (1975). The Act

“established a major program to bring about improved motor vehicle

fuel efficiency,” including “mandatory vehicle fuel economy standards,

intended to be technology forcing . . . [and] strong enough to bring about

the necessary fuel conservation which a national energy policy

demands.” Ctr. for Auto Safety v. NHTSA, 793 F.2d 1322, 1324, 1339

(D.C. Cir. 1986) (citations omitted).

     These corporate average fuel economy standards—often called

“CAFE standards”—set performance standards of miles traveled per

gallon of fuel used. Id. at 1324. Each automaker “must achieve an

average level of fuel economy” across their new vehicles manufactured

in a given model year.” Id.




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     The Act distinguished between “passenger” vehicles (i.e., cars) and

“light trucks” such as sport utility vehicles and pickups. Id.1 In 2002, in

response to a request from Congress, the National Academy of Sciences

published a report on the fuel economy program. See Ctr. for Biological

Diversity v. NHTSA, 538 F.3d 1172, 1184 (9th Cir. 2008). The Academy

found that the envisioned distinction “between a car for personal use

and a truck for work use/cargo transport” had “been stretched well

beyond the original purpose.” Id. (quotations omitted). The “less

stringent” standards for light trucks had incentivized automakers to

invest in those vehicles “and to promote them to consumers in place of

large cars and station wagons.” Id. As time went on, consumers were

using light trucks “primarily for passenger-carrying purposes.” Id. at

1208.

     Whereas “light truck” sales were only about 20 percent of the new

vehicle market at the advent of the fuel economy program, they

accounted for about 50 percent by the early 2000s. Id. at 1184. “As the


1 The term “light trucks” is a term of art, referring to the non-passenger

car vehicles regulated under 49 U.S.C. § 32902 including pickups,
minivans, and larger sport utility vehicles. See Ctr. for Auto Safety, 793
F.3d at 1324. It does not include actual “work trucks,” which are larger
trucks regulated separately. See 49 U.S.C. § 32901(a)(19).
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market share of light trucks [increased], the overall average fuel

economy of the new light duty vehicle fleet . . . declined.” Id. (quotations

omitted).

     In 2007, Congress revitalized the fuel economy program with the

Energy Independence and Security Act, Pub. L. No. 110-140, 121 Stat.

1492 (2007). Congress required the National Highway Traffic Safety

Administration (“NHTSA,” or “the agency”) to set an average fuel

economy standard for cars and a separate average fuel economy

standard for light trucks. 49 U.S.C. § 32902(b)(3)(A).2 These two

standards must be set at “the maximum feasible average fuel economy

level” for each model year of new vehicles. Id. § 32902(a), (b)(2)(B).

     In determining the feasibility of more stringent standards,

Congress directed the agency to consider four factors: “technological

feasibility, economic practicability, the effect of other motor vehicle

standards of the Government on fuel economy, and the need of the

United States to conserve energy.” Id. § 32902(f). To ensure NHTSA has

current information about “technologies and costs” to improve fuel




2 The statute tasks the Secretary of Transportation, who delegated it to

NHTSA. Ctr. for Auto Safety, 793 F.2d at 1324 n.10; 49 C.F.R. § 1.94(c).
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economy, Congress required the agency to contract with the National

Academy of Sciences to periodically assess the state of “existing and

potential technologies that may be used practically to improve [motor

vehicle] fuel economy.” Pub. L. No. 110-140, § 107, 121 Stat. at 1504.

II. The Agency in 2016 Finds Atkinson Engines “One of the
    Most Promising” Technologies for Fuel Economy Gains

     In 2012, NHTSA prescribed average fuel economy standards for

model years 2017–2021. 77 Fed. Reg. 62,624 (Oct. 15, 2012). The agency

also announced a further set of “‘augural’ standards for model years

2022 to 2025 based on its current best judgment” of feasible future

improvements. See California v. EPA, 940 F.3d 1342, 1346 (D.C. Cir.

2019) (cleaned up).

     In 2015, the National Academy of Sciences reported to NHTSA that

“[s]everal manufacturers are developing or producing engines with

exceptionally high compression ratios.” JA___[2015_NAS_Report_69].

High-compression-ratio technologies (also called “Atkinson”

technologies) improve fuel efficiency by making an engine’s compression

stroke (which “compresses” the gasoline and air in the engine before it

is ignited) shorter than its expansion stroke (which captures the energy

from igniting the gasoline and delivers it to the vehicle’s wheels). See 87

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Fed. Reg. at 25,786 & n.213–n.216. The logic of an Atkinson engine is

that by allowing a longer expansion stroke, more work can be extracted

from each unit of fuel combusted, thus improving fuel efficiency. See id.

     Early Atkinson engines achieved some of their efficiency gains at

the expense of power or torque, JA___[2011_NAS_Report_14], and early

uses were primarily in passenger cars, JA___[2015_NAS_Report_70].

But, in 2015, the Academy reported that Toyota had “announced that

the issue with low torque ha[d] been overcome,” and that “this

development [was] expected to facilitate the application of Atkinson

cycle engines” in more vehicles. JA___[2015_NAS_Report_70–71].

     In 2016, NHTSA and other expert agencies jointly published a

1,200-page draft technical assessment report on motor vehicle

technologies. See 81 Fed. Reg. 49,217 (July 27, 2016). “The agencies

found that a wider range of technologies exist[ed] for manufacturers to

use to meet [model year] 2022–2025 standards, and at costs that [were]

similar or lower, than those projected” in 2012. California, 940 F.3d at

1347 (cleaned up).

     In particular, the 2016 report described high-compression-ratio

Atkinson engines as “one of the most promising non-electrified


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technologies capable of playing a major role in compliance with

[standards] through 2025.” JA___[NHTSA-2016-0068-001_12-35]. The

report noted that “nearly all” hybrid vehicles in the nation used

Atkinson engines, and that multiple automakers had introduced

Atkinson engines on conventional vehicles since 2012. JA___[NHTSA-

2016-0068-001_5-31]. Although most previous applications had been on

passenger cars, the report noted that starting with model year 2016,

Toyota had introduced an Atkinson engine on the Tacoma, the

best-selling mid-size pickup truck in the country. JA___[NHTSA-2016-

0068-001_5-31–5-32]. Equipped with this engine, the report observed,

the Tacoma pickup was rated to tow up to 6,800 pounds. JA___[NHTSA-

2016-0068-001_5-32].

III. The Agency in 2017 Shelves Its Own Research and Stalls
     Fuel Economy Standards

     Notwithstanding NHTSA’s 2016 technical findings that a wider

range of cost-effective technologies existed to meet the previously

announced augural 2025 standards, the agency slammed on the brakes

in 2018 under the Trump administration. NHTSA proposed to find that

it was infeasible for automakers to make any improvement in average



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fuel economy in any of model years 2021 to 2026. See 83 Fed. Reg.

42,986, 42,986 (Aug. 24, 2018).

     The agency also reversed direction on Atkinson engines. The

agency now proposed to consider the technology infeasible except for

limited applications on smaller passenger cars. See, e.g., 83 Fed. Reg. at

43,038. With virtually no explanation, the agency claimed that “the

technology is not suitable for many vehicles due to performance,

emissions, and packaging issues,” and was “not suitable” in “many

cases” for vehicles with “6-cylinder engines.” Id. The notice of proposed

rulemaking did not address the fact that 6-cylinder engine vehicles like

the best-selling Tacoma pickup already used Atkinson technologies.

     NRDC and other stakeholders commented that Atkinson engines

were already in use on vehicle types that NHTSA proposed to consider

incapable of using Atkinson engines. See 85 Fed. Reg. 24,174, 24,409–

24,413 (Apr. 30, 2020). These included “pickup trucks, performance

sedans, all-wheel drive versions, four-wheel-drive versions, and mid-

sized [sport utility vehicles],” including the 424-horsepower Lexus 450h

sport utility vehicle. JA___[NHTSA–2018–0067–11741_21].

Commenters also observed that, if the proposed restrictions were


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removed in the agency’s compliance model, the model projected

significant uptake of Atkinson technologies at a lower cost of

compliance—indicating that the model correctly treated Atkinson

engines as “highly cost-effective technology.” See 85 Fed. Reg. at 24,426.

     NHTSA finalized standards in 2020 without correcting its

erroneous exclusion of Atkinson engines. Id. at 24,427. While compelled

to acknowledge that Atkinson technologies were already in use on

current light truck models, the agency claimed that automakers had

applied the technology “in unique ways” to those vehicles, that the

technology was not suitable “for all vehicle configurations,” and that the

technology “may not” meet requirements for “high-load applications.”

Id. at 24,426. The agency did not explain the difference between trucks

and sport utility vehicles that were using the technology and those that

ostensibly could not. NHTSA suggested that, particularly for vehicles

with 6-cylinder engines, there “may” be issues “on some platforms” to

“package the larger exhaust manifolds needed.” Id. Again, the agency

did not explain how existing vehicles with 6-cylinder Atkinson engines

had overcome this supposed issue in a manner that other 6-cylinder

vehicles could not.


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     NHTSA also “agree[d]” that high-compression-ratio Atkinson

engines were “highly cost-effective technology” and that incorporating

this technology in its computer compliance model would significantly

reduce the projected “per-vehicle cost of compliance” with higher

standards. 85 Fed. Reg. at 24,426. But the agency nonetheless

maintained that the exclusion of this technology was “appropriate.” Id.

     NRDC and others challenged these agency actions in this Court.

Following the change in presidential administration in 2021, the agency

announced it would reconsider its 2020 rule, and the litigation was

placed in abeyance. See Order, Competitive Enter. Inst. v. NHTSA,

No. 20-1145 et al., Dkt. No. 1892931 (D.C. Cir. Apr. 2, 2021).

IV. The Agency in 2021 Proposes to Strengthen Standards,
    But Still Excludes Atkinson Technologies from
    Consideration Despite Growing Real-World Use

     In 2021, although NHTSA proposed to strengthen the do-nothing

standards set under the prior administration, the agency continued to

discount the real-world use of cost-effective Atkinson technologies. The

agency analyzed several alternative stringencies for model years 2024–




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2026,3 86 Fed. Reg. 49,602, 49,603 (Sept. 3, 2021), and proposed to

adopt what it called “Alternative 2,” id. at 49,611. It also sought

comment on a more stringent alternative, “Alternative 3.” Id. at 49,754.

     Explaining its proposal in terms of the required statutory

considerations, 49 U.S.C. § 32902(f), NHTSA determined that the more

stringent Alternative 3 “best meets the need of the U.S. to conserve

energy,” 86 Fed. Reg. at 49,803. Alternative 3 “would save consumers

the most in fuel costs,” “would achieve the greatest reductions in

climate [pollution],” and “would also maximize fuel consumption

reductions, better protecting consumers from international oil market

instability and price spikes.” Id. NHTSA further concluded that

Alternative 3 was “technologically feasible,” id. at 49,810, and that it

was also feasible after considering “other motor vehicle standards of the

Government,” id. The agency’s choice to propose the less stringent

alternative boiled down to its view that “the additional technology cost

required” to meet Alternative 3 made these more stringent standards

economically impracticable. Id.


3 NHTSA concluded that statutory lead time requirements meant that

2024 was the earliest model year that could be amended in the fuel
economy program. 86 Fed. Reg. at 49,603.
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     The agency’s consideration of those costs, however, excluded the

use of Atkinson technologies to improve the fuel economy of much of the

light truck fleet. Id. at 49,661–49,662. NHTSA projected the additional

technology cost of meeting stronger standards using a computer

compliance simulation model (the “CAFE Model”). See id. at 49,632. The

agency’s compliance model is designed to project the most cost-effective

way automakers could add technology to their fleets to meet prescribed

standards. Id.

     To make that projection, the model relies on agency-supplied inputs

such as information about automakers’ recent new vehicle offerings, a

“menu” of possible technology combinations that an automaker could

use to improve those vehicles’ efficiency, and information about each

technology’s cost and effectiveness. See id. at 49,632.

     For each automaker and each model year, the model surveys the

“menu” and—starting with the most cost-effective technology option—

adds technologies “based on their relative cost-effectiveness” until the

automaker achieves compliance. Id. The model performs its calculations

only on technologies NHTSA puts into the model and allows the model

to select. Id.


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     Here, NHTSA blocked the model from selecting Atkinson-enabled

engines as a fuel economy improvement option for any pickup truck and

any vehicle that shares an engine with a pickup truck, which includes a

wide range of sport utility vehicles and cars. See 86 Fed. Reg. at 49,661–

49,662. In other words, even if the model would otherwise have

identified an Atkinson-enabled engine as “the most cost-effective

technology solution” available for these vehicles,

JA__[CAFE_Model_Documentation_75_fig. 8] (“Compliance Simulation

Algorithm”), the agency instructed the model to ignore that technology,

forcing the model to move on to a less-cost-effective option. The result is

to increase the estimated cost of complying with the potential

standards. See 86 Fed. Reg. at 49,632 & n.39.4

     The agency presented no rational explanation for excluding

Atkinson engines in this way. NHTSA acknowledged that automakers

had continued to deploy Atkinson engines on larger vehicles, and that

“new observed applications in the market” included multiple 6-cylinder




4 The agency also blocked its compliance model from considering

Atkinson-enabled engines for “vehicles with 405 or more horsepower,”
and for all vehicles for three specific automakers “that are heavily
performance-focused.” 86 Fed. Reg. at 49,661–49,662.
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vehicles such as the Hyundai Palisade and the Kia Telluride sport

utility vehicles. See id. at 49,661 & n.130.5

     The agency also acknowledged that automakers had developed

engines that could “dynamically swing between operating [modes] based

on engine loads.” Id. at 49,658–49,659. These “Atkinson-enabled”

engines could operate in a “power-dense” mode during high load

operations like towing or hauling. See id. But during lower load

conditions, “such as driving around a city or steady state highway

driving without large payloads,” the engine would automatically

operate in a “higher-efficiency” mode (called “Atkinson cycle”). See id. at

49,659. “The hybrid combustion cycle operation is used to address the

low power density issues that can limit the Atkinson-only engine and

allow for a wider application of the technology.” Id.

     Nonetheless the agency still blocked its compliance model from

using this technology on all “pickup trucks” and all “vehicles that share

engines with pickup trucks.” Id. at 49,661–49,662. The agency observed




5 Some pickup trucks, such as the Chevy Colorado, have engines with

less than 6 cylinders. JA___[Model_Files]
(Central_Analysis/input/market_data_ref.xlsx, Vehicles_tab, Row 917,
Column Z).
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that “the level of efficiency improvement experienced by a vehicle

employing an Atkinson-enabled engine is directly related to how much

of the engine’s operation time is spent at high Atkinson levels.” Id. at

49,658. According to NHTSA, the “duty cycle” for pickups and sport

utility vehicles, “particularly when hauling cargo or towing,” would

make these vehicles “likely unable to take full advantage of Atkinson

cycle use.” Id. at 49,662. Instead, such vehicles “would ultimately spend

the majority of operation” in a less efficient operating mode. Id.

     In other words, the agency did not contend that Atkinson-enabled

engines were incapable of meeting these vehicles’ power needs during

towing or hauling. Instead, the agency apparently assumed that all

pickup trucks—and all vehicles using pickup truck engines, including

smaller sport utility vehicles and cars—would spend the “majority” of

their time towing or hauling. But the agency presented no data on any

of these vehicles’ “duty cycles,”—i.e. how they are used in the real

world—or any other data such as the percentage of these vehicles that

are sold with tow hitches installed.




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V.   Commenters Highlight Real-World Data that Refutes
     the Agency’s Premise for Excluding Atkinson Engines

     NRDC and others submitted comments urging the agency to

finalize more stringent standards. JA___[NHTSA–2021–0053–1572–

A1]; JA___[NHTSA–2021–0053–1521–A2]; JA___[NHTSA–2021–0053–

1581–A1]. Among other things, commenters noted that “the additional

technology cost” for the more stringent Alternative 3, see 86 Fed. Reg. at

49,810, resulted in part from the agency’s decision to block its

compliance model from selecting highly cost-effective technologies such

as Atkinson-enabled engines for millions of vehicles each model year.

JA___[NHTSA–2021–0053–1572–A1_46–47]; JA___[NHTSA–2021–

0053–1521–A2_4–9]; JA___[NHTSA–2021–0053–1581–A1_26–28].

     While the agency purported to have “expanded” its consideration of

Atkinson technologies compared to the 2020 Rule, 86 Fed. Reg. at

49,661, commenters observed that NHTSA had still blocked its

compliance model from applying Atkinson-enabled engines “to the vast

majority of engines with 6 or more cylinders.” JA__[NHTSA–2021–

0053–1521–A2_4–9]. Commenters noted that the number of vehicles

with 6 or more cylinders that were already using Atkinson technologies



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continued to increase in the real world. JA___[NHTSA–2021–0053–

1521–A2_4–9].

     Regarding NHTSA’s claim that a pickup truck’s “duty cycle” was

too extreme to benefit from the efficiency gains of an Atkinson-enabled

engine, commenters demonstrated that high load operations—such as

towing or hauling heavy cargo—represent a small fraction of a pickup’s

uses. JA___[NHTSA–2021–0053–1521–A2_4–9]; JA___[NHTSA–2021–

0053–1581–A1_26–28]. Commenters provided data that “75 percent of

[pickup] truck owners use their truck for towing one time a year or

less,” such that the “large majority of pickup trucks spend the vast

majority of driving at low loads relative to the engine’s capability,

where Atkinson cycle engines are very effective.” JA___[NHTSA–2021–

0053–1581–A1_26–28].

     The point of Atkinson-enabled engines, commenters explained, was

that they could “operate efficiently in Atkinson [mode] when possible,”

but automatically switch to “power” mode “when greater power density

is required.” JA___[NHTSA–2021–0053–1521–A2_4–9]. Commenters

also noted that engines in pickups are sized to handle higher peak

loads, and thus operate at lower loads relative to their maximum


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capacity when not operating at that peak load. Given the data that

pickups rarely operate near peak load, this means that pickups “will

spend more time in Atkinson [mode] than lower performance

vehicles . . . not less.” JA___[NHTSA–2021–0053–1581–A1_26–28].

     Commenters noted that market-leading light trucks were already

offered with Atkinson technologies. In addition to the best-selling

Toyota Tacoma mid-size pickup, commenters pointed to additional

vehicles such as the popular Dodge Ram 1500 pickup, which was now

available with Atkinson technologies installed. JA___[NHTSA–2021–

0053–1521–A2_4–9]. Further, commenters pointed to existing

complementary technologies that would further reduce vehicle load—

such as the lighter-weight body construction of the all-aluminum Ford

F-150 pickup—and enable even “broader Atkinson-cycle operation.”

JA___[NHTSA–2021–0053–1521–A2_4–9].

VI. NHTSA in 2022 Finalizes Standards That, While an
    Improvement, Still Arbitrarily Exclude Atkinson
    Engines as a Means to Improve Trucks’ Fuel Economy

     In 2022, the agency finalized standards slightly more stringent

than proposed, but still significantly less so than Alternative 3. See 87

Fed. Reg. 25,710, 25,721 (May 2, 2022) (“Final Rule”). Commenters had


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made “a credible case” that more stringent standards were feasible, id.

at 26,003, as Alternative 3 was “technologically feasible,” “maximizes

energy conservation,” and “result[s] in more [fuel] savings.” Id. But the

agency found Alternative 3 “slightly” beyond the level of economic

practicability, with “per-vehicle costs, technology application rates, and

lead time” “tip[ping] the balance” to a lower stringency. Id.

     The compliance modeling NHTSA relied on for the final standards

retained all the constraints on Atkinson-enabled engines to which

commenters had objected. See 87 Fed. Reg. at 25,789–25,790 & n.234.

The agency continued to block its model from applying relatively more

cost-effective Atkinson technology to any “pickup trucks and vehicles

that share engines with pickup trucks”; to any “vehicles with 405 or

more horsepower”; or to any vehicles of three specific manufacturers

that are “performance-focused” (BMW, Daimler, and Jaguar Land

Rover). Id.6 The agency had also made coding errors that led the model

to erroneously block Atkinson technologies on other vehicles




6 The agency also blocks electric hybridized versions of the technology

on all these vehicles. See 87 Fed. Reg. at 25,812.
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representing half-a-million new vehicle sales that the agency had not

intended to exclude. See Section I.C, infra.

     Notably, however, the justification for the pickup truck exclusion

shifted from the proposal. In the Final Rule, the agency maintained the

exclusion was based on the “duty cycle” of pickups, but it dropped the

reference to the duty cycle involving frequent high-load operations such

as towing. The agency now said that a pickup’s “duty cycle” necessitates

maintaining what it called “large torque reserves,” a new concept the

agency did not define.7 To maintain these “reserves,” the agency

claimed, requires “an engine calibration that minimizes the advantage

of Atkinson cycle use.” 87 Fed. Reg. at 25,789.8

     NHTSA did not explain why the vehicle’s onboard computer could

not be programmed to turn the Atkinson cycle on and off as appropriate.



7 Torque is a measure of present rotational force, see Safe Extensions,

Inc. v. Fed. Aviation Admin., 509 F.3d 593, 596 (D.C. Cir. 2007), so it is
unclear what a reserve of that is.
8 The advent of computerized engine control allowed for real-time

optimization of engine operation. JA___[2011_NAS _Report_5]
(“Computer control . . . now allows the dynamic optimization of engine
operations, including precise air/fuel mixture control, spark timing, fuel
injection, and valve timing.”). The way an engine’s computer is
programmed to adjust engine operation under various conditions is
sometimes called an engine’s “calibration.” 87 Fed. Reg. at 25,791.
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The agency’s stated basis for the exclusion was a confidential

“conversation” with unnamed automaker(s) who stated they “saw no

benefit” when Atkinson technologies were applied to truck platforms in

their fleet. Id. at 25,789 n.233.

     NHTSA acknowledged commenters’ data that “[75] percent of

[pickup] truck owners use their truck for towing one time a year or

less.” 87 Fed. Reg. at 25,790.9 The agency also acknowledged comments

that modern Atkinson-enabled engines could meet any need for

additional power or torque by switching to a “power” mode (called “Otto

cycle”). Id. The agency’s only response was to assert that Atkinson-

enabled engines are not able to “completely” achieve a “traditional” Otto

mode, and that having the ability to switch modes “significantly

improves the engine efficiency but does not give the engine the

functional flexibility” suggested by commenters. Id. The only purported

support the agency cited was selected automaker comments from 2018

on the prior rulemaking proposal, id. at 25,790–25,791, even though

that proposal had not included the new notion of “torque reserves.” The


9 The Final Rule preamble text omits the number “75” as the percentage

provided by commenters, but this is presumably a typo. The comment
NHTSA is citing from is at JA___[NHTSA–2021–0053–1581–A1_27].
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agency did not cite to any automaker comments from the current

rulemaking in support.

     NRDC petitioned this Court for review of the Final Rule. See

Petition for Review, NRDC v. NHTSA, No. 22-1080, Dkt. No. 1946518

(D.C. Cir. May 11, 2022). The Court later consolidated NRDC’s petition

with two other petitions. See Order, NRDC v. NHTSA, No. 22-1080

et al., Dkt. No. 1953265 (D.C. Cir. July 1, 2022).

                       STANDARD OF REVIEW

     This Court holds unlawful agency actions that are “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. § 706(2)(A), (C); see Competitive Enter. Inst. v. NHTSA,

45 F.3d 481, 484 (D.C. Cir. 1995) (applying arbitrary and capricious

standard to review of fuel economy standards). “An agency action is

arbitrary and capricious” if the agency “offered an explanation for its

decision that runs counter to the evidence before the agency”; “ignore[d]

evidence that undercuts [the agency’s] judgment”; failed to “articulate a

rational explanation for its actions”; or rested its action “upon a factual

premise that is unsupported by substantial evidence.” Genuine Parts

Co. v. EPA, 890 F.3d 304, 312 (D.C. Cir. 2018) (cleaned up).


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                     SUMMARY OF THE ARGUMENT

     NHTSA arbitrarily excluded from consideration a fuel economy

technology that is already available in commercial use, and as a result

the agency did not set fuel economy standards at the “maximum

feasible” level required by Congress. 49 U.S.C. § 32902(a). NHTSA

rejected stronger fuel economy standards because it estimated that the

cost of the necessary technology was “slightly” higher than the cost the

agency considered appropriate for the standards to impose. But

NHTSA’s cost estimate was artificially high, because the agency failed

to analyze the use of cost-effective Atkinson engines as a compliance

option on millions of new vehicles sold each year.

     The agency’s reliance on its flawed compliance modeling was

arbitrary and capricious for three independent reasons. First, NHTSA’s

decision to block its model from considering high-compression-ratio

Atkinson-enabled engines for any pickup truck is not supported by the

record. The agency relies on a conclusory and counter-factual

assumption that pickups are routinely used in ways that are

incompatible with Atkinson technology. But the record shows that

consumers mostly drive pickups at lower load conditions, where


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Atkinson-enabled engines are very efficient. The record also shows that

automakers have already deployed Atkinson-enabled engines on

pickups and other large vehicles. Moreover, NHTSA’s only purported

factual basis for the pickup truck exclusion is undisclosed. The agency

says it had a confidential “conversation” with unidentified automaker(s)

who persuaded the agency to block the technology. Even if secret data

could theoretically trump the other record evidence (which it cannot),

the agency’s conclusory assertion—affecting more than a million pickup

trucks sold each year—was insufficiently explained and thus still

arbitrary and capricious.

     Second, even if NHTSA could justify the exclusion for pickup

trucks, the agency extended the exclusion to more than a million sport

utility vehicles and cars that share engines with pickup trucks. This

extension was independently arbitrary. There is no record evidence that

these vehicles have duty cycles comparable to pickups, and NHTSA

nowhere explains why automakers cannot feasibly upgrade these

vehicles with Atkinson technologies. Any post-hoc attempt to justify

extending the exclusion would be unlawful, and would fail in any event.

Automakers have already deployed Atkinson technology on sport utility


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vehicles and cars, and the record shows they could deploy it to many

more vehicles.

     Finally, the agency compounded its errors by erroneously blocking

almost half a million other vehicles from being considered for Atkinson

upgrades in the compliance model. The agency itself says these vehicles

should have been considered.

     Each of these three errors forced the agency’s compliance model to

potentially pick a relatively less cost-effective technology option, and

thus arbitrarily overestimate the cost of compliance. The exclusions

affect millions of vehicles sold each year, and the agency cannot

rationally conclude that blocking Atkinson technologies in its model was

immaterial. The Court should remand the rule to the agency, without

vacatur, to correct these errors and reconsider the feasibility of more

stringent standards.

                               STANDING

     The Final Rule prescribes standards that are not the maximum

feasible standards. NRDC’s members are injured by the increased

pollution and decreased availability of fuel-efficient vehicles traceable to

the Final Rule. See, e.g., 87 Fed. Reg. at 25,865–25,868 & n.617, 25,974


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& tbl. VI-5, 25,808, 26,010 & tbl. VI-13. Cf. Competitive Enter. Inst. v.

NHTSA, 901 F.2d 107, 112–113 (D.C. Cir. 1990) (consumers who

experience a reduced opportunity to purchase certain types of vehicles

have standing to challenge fuel-economy rules); NRDC v. NHTSA, 894

F.3d 95, 104–105 (2d Cir. 2018) (NRDC had standing to challenge

NHTSA action based on increased automobile air pollution near

members’ homes); NRDC v. Wheeler, 955 F.3d 68, 76–78 (D.C. Cir.

2020) (NRDC had standing to challenge agency action based on

increased climate-related emissions and effects on members). NRDC

has members who want to purchase more-fuel-efficient vehicles whose

availability the Final Rule will diminish; who live or work near oil

refineries or major roadways where higher localized pollution will be

experienced; and who have respiratory conditions that are exacerbated

by the effects of climate change.10 An order remanding the Final Rule to

the agency with direction to correct the significant analytical errors that

led to less stringent fuel economy standards will redress these injuries.




10 Petitioner’s standing declarations are reproduced in an addendum to

this brief.
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                              ARGUMENT

     The agency made three errors that render its decision not to adopt

more stringent standards arbitrary and capricious. The agency

arbitrarily excluded high-compression-ratio Atkinson-enabled engines

as a compliance option in its modeling for all pickup trucks. Section I.A,

infra. The agency arbitrarily extended that exclusion to more than a

million sport utility vehicles and cars sold each year. Section I.B, infra.

And the agency arbitrarily blocked the technology on half a million

other vehicles sold each year, even though the agency itself says these

vehicles should be able to use the technology. Section I.C, infra.

     Each error independently warrants a remand to the agency to

reconsider the feasibility of stronger fuel economy standards. Because

vacatur of the Final Rule would leave more lax standards in place, the

Court should remand without vacatur. Section II, infra.

I.   The Agency’s Exclusion of Atkinson-Enabled Engines
     From Compliance Modeling was Arbitrary

     As an initial matter, NHTSA irrationally treats some vehicles that

have already adopted Atkinson technologies in the real world as if they

had not. For example, the agency’s compliance model treats the Tacoma

pickup as if it does not have an Atkinson engine and blocks it from

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having additional Atkinson technologies installed.11 This effectively

forces the model to assume the Tacoma will upgrade to an entirely

different engine technology. The agency’s counter-factual modeling

“bears no rational relationship to the reality it purports to represent,”

Columbia Falls Aluminum v. EPA, 139 F.3d 914, 923 (D.C. Cir. 1998),

and the resulting analysis is contrary to the evidence, see Utility Solid

Waste Activities Group v. EPA, 901 F.3d 414, 432 (D.C. Cir. 2018).

     As explained below, the agency’s modeling of Atkinson technologies

for new vehicles fares no better. At bottom, the agency has offered

nothing but conclusory assertions that automakers cannot use

Atkinson-enabled engines to achieve any fuel economy improvement in

pickups and sport utility vehicles. Because the agency’s mandate is to

determine what automakers “can” do, 49 U.S.C. § 32902(a), the lack of

reasoned explanation is even more glaring given the real-world

examples of automakers deploying Atkinson technologies on pickups

and large sport utility vehicles. See, e.g. 87 Fed. Reg. at 25,789 & n.230;




11 JA___[Model_Files] (Central_Analysis/input/market_data_ref.xlsx,

Vehicles_tab, e.g., Row 1319, Column H; Engines_tab, Row 101,
Columns AD–AF=SKIP).
                                  30
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JA___[NHTSA–2021–0053–1521–A2_4–9]; JA___[NHTSA–2021–0053–

1581–A1_26–28].

     A.   The agency’s “pickup truck exclusion” is
          unexplained and unsupported by the record

     NHTSA’s rejection of Atkinson-enabled engines was based on three

assertions. First, the overarching assertion is that Atkinson technology

is incompatible with the “duty cycle” of pickups, 87 Fed. Reg. at

25,789—i.e., how they are used in the real world. Second, the agency

asserts that every pickup’s duty cycle requires something it calls “large

torque reserves.” Id. Third, based on confidential sources, the agency

asserts that the only way to maintain such “reserves” is to calibrate

every pickup engine in a way that cancels the entire efficiency benefit of

Atkinson-enabled engines. Id. & n.233.

     But there are no findings or reasoned explanations supporting the

first two assertions. And the agency cannot rely on undisclosed

confidential information to substantiate or explain the third, see Flyers

Rts. Educ. Fund, Inc. v. Fed. Aviation Admin., 864 F.3d 738, 745–748

(D.C. Cir. 2017), which in any event is contrary to the record. There is

no “confidentiality loophole” in the “bedrock principle” that an agency

must “articulate with clarity and precision its findings and the reasons

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for its decisions.” In re NTE Connecticut, LLC, 26 F.4th 980, 989

(D.C. Cir. 2022).

         1.   NHTSA’s assumption about pickup truck duty cycles is
              contrary to the record

     The agency starts by asserting that the exclusion is based on the

“duty cycle” of pickup trucks. The agency never explains the duty cycle

it thinks all pickups operate on, which is reason enough to find the

assertion arbitrary. “Conclusory explanations” are insufficient, even in

“highly technical” areas. Genuine Parts Co., 890 F.3d at 312. But the

record data also runs counter to any assertion that the way pickups are

used in the real-world is incompatible with Atkinson-enabled engines.

     In the proposal, the agency said it was “particularly when hauling

cargo or towing” that a pickup’s use was “likely” incompatible with

Atkinson-enabled engines. 86 Fed. Reg. at 49,662. But the

uncontradicted record evidence shows that most pickups operate at

lower-load conditions, and thus can achieve increased efficiency with

Atkinson technology. NHTSA acknowledged commenters’ data that 75%

of pickup trucks tow “one time a year or less.” 87 Fed. Reg. at 25,790.

The agency itself also cited several times to Center for Biological

Diversity v. NHTSA (see, e.g., 87 Fed. Reg. at 25,961 n.796), where the

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Ninth Circuit cited a raft of evidence, including from National Academy

of Sciences reports, that consumers “use light trucks primarily for

passenger-carrying purposes.” 538 F.3d 1172, 1207–1209 (2008).

     The agency never disputed that pickups rarely tow heavy things.

Instead, the agency simply dropped the reference to towing and hauling

in the Final Rule. But the record facts remain that consumers do not

primarily use pickups for high-load operations like towing, and NHTSA

“cannot ignore evidence contradicting its position.” See Genuine Parts

Co., 890 F.3d at 312. NHTSA had no other data about pickup truck

“duty cycles.” Any reliance on an unarticulated alternative duty cycle

would simply be a blanket assumption about pickup truck usage

without any rational support. This the agency cannot do. The agency

must provide “some” factual support for its conclusion. See Edison Elec.

Inst. v. EPA, 2 F.3d 438, 446 (D.C. Cir. 1993); Safe Extensions, Inc., 509

F.3d at 605 (“[A]n agency’s unsupported assertion does not amount to

substantial evidence.”).

         2.   NHTSA’s claim that all pickups need “large torque
              reserves” is unexplained and unsubstantiated

     In the Final Rule, NHTSA still premises the exclusion on the “duty

cycle” of pickups. 87 Fed. Reg. at 25,789. But rather than rely on actual

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duty cycle data, NHTSA claims that all pickups need “large torque

reserves.” Id. This change in label cannot justify a duty cycle-based

exclusion.

     As an initial matter, the agency never explains what “torque

reserves” are, or why all the nearly million-and-a-half pickup trucks

sold each year need them.12 The phrase “torque reserves” did not even

appear in the notice of proposed rulemaking, and it only appears twice

more in the Final Rule preamble, both times restating the conclusion.

Cf. 87 Fed. Reg. at 25,786 (Atkinson technology not beneficial for

vehicles “that must maintain a high level of torque reserve”); id.

(Atkinson technology more beneficial for vehicles with “lower relative

need for torque reserves”). The agency may not root its explanation in

an undefined concept that forces the Court to “guess at the theory

underlying the agency’s action.” See City of Vernon v. Federal Energy

Regulatory Comm’n, 845 F.2d 1042, 1048 (D.C. Cir. 1988) (quotation

omitted).




12 JA___[Model_Files] (Central_Analysis/input/market_data_ref.xlsx,

Vehicles_tab, Columns V, H, Y, Engines_tab, Columns C, H, AD–AF).
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     NHTSA never provides any data on “torque reserves” or explains in

even general terms what level of “torque reserves” would satisfy these

vehicles’ needs. The agency only says they must be “large.” But that

explains nothing. See Tripoli Rocketry Ass’n, Inc. v. Bureau of Alcohol,

Tobacco, Firearms, & Explosives, 437 F.3d 75, 81 (D.C. Cir. 2006)

(classification based on a material burning “much faster” than another

was arbitrary). The agency also never explains how “torque reserves”

are measured in order to be assessed for “largeness.” NHTSA must

provide “some metric for classifying” torque reserve needs, and its

failure to do so renders the technology exclusion arbitrary. See id. Even

“in the face of uncertainty” the agency “must exercise its expertise” and

“hazard a guess.” See Chamber of Commerce v. S.E.C., 412 F.3d 133,

143 (D.C. Cir. 2005).

     The record shows that Atkinson-enabled engines are designed with

a pickup’s actual duty cycle in mind—ready to provide additional power

and torque on the infrequent occasions it is needed. During routine

driving, the engine operates in the higher-efficiency mode enabled by

the Atkinson technology; when it tows, the engine’s computer

automatically switches to “power” mode. See 87 Fed. Reg. at 25,786.


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NHTSA never explains why a computer-controlled Atkinson engine

cannot provide sufficient torque by switching automatically to “power”

mode. The agency contends only that the engines cannot switch

“completely” out of Atkinson efficiency mode, id. at 25,790, but again

fails to explain the level of power that is achieved and why that level is

insufficient. See Tripoli Rocketry, 437 F.3d at 81.

     In short, neither the agency’s invocation of duty cycles, nor the

agency’s invention of “torque reserves,” provide any explanation for the

exclusion. An agency must always “cogently explain why it has

exercised its discretion in a given manner.” Motor Vehicle Mfrs. Ass’n of

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 48 (1983).

         3.   NHTSA’s claim that all pickups need an inefficient
              engine calibration is unexplained and unsubstantiated

     The agency’s last attempt to justify the pickup truck exclusion is

simply to assert that maintaining the required torque “reserves”

(whatever they may be) requires calibrating every truck engine’s

computer control unit in a way that “minimizes the advantage of

Atkinson [mode].” 87 Fed. Reg. at 25,789. But NHTSA never explains

why automakers must calibrate any pickup truck engine that way. See

Genuine Parts Co., 890 F.3d at 312. And even if the resulting efficiency

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advantage is “less,” the agency never explains how much less and why

the remaining advantage is not still beneficial. Cf. Tripoli Rocketry, 437

F.3d at 81 (an “unbounded relational definition” is arbitrary).

     Equally important, the agency does not explain why every pickup’s

engine requires such an inefficient calibration. See NRDC v.

Herrington, 768 F.2d 1355, 1396–1398 (D.C. Cir. 1985) (agency may not

support categorical assumptions by referencing “general and

unelaborated” concerns). Most pickups only tow something “one time a

year or less,” 87 Fed. Reg. at 25,790, and NHTSA never explains why

all these trucks must be calibrated as if they are towing things the

other 364 days as well. An Atkinson-enabled engine runs efficiently the

majority of the time, and automatically switches to “power” mode only

when needed. 87 Fed. Reg. at 25,786. Nor does the agency explain why,

even if some trucks might need calibrations designed for frequent

towing, it could not simply have assumed that efficiently calibrated

Atkinson engines could spread to the rest of the fleet. Cf. 87 Fed. Reg.

at 25,789 (“capacity limits” used to cap other technologies at certain

levels of adoption in the model). NHTSA may not conclude that “all”

applications of a technology are infeasible “merely by asserting that


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many or even most” might be infeasible. See Herrington, 768 F.2d at

1397.

     Not only was the agency’s explanation non-existent, its conclusion

that all pickups require highly inefficient calibrations is contrary to the

record. The agency’s only cited evidence was confidential “conversation”

with an unknown number of unidentified automakers who the agency

said “saw no benefit” to using Atkinson technologies on trucks. 87 Fed.

Reg. at 25,789 n.233. But that is not substantial evidence. See, e.g.,

Flyers Rts. Educ. Fund, 864 F.3d at 745–748. An agency “may decline to

include confidential business information in the public administrative

record in certain narrow situations,” but it must disclose “as much

information publicly as it can.” Id. at 745. And the information disclosed

must be sufficient to provide a reviewing court with a complete factual

basis for the agency’s decision. “An agency decision based on reliable

data reposing in the agency’s files but hidden from judicial view simply

cannot withstand scrutiny.” Id. at 746 (cleaned up).

     Here, NHTSA discloses nothing from its confidential “conversation”

that approaches a sufficient factual basis for the exclusion. As an initial

matter, it is unclear why any automaker’s identity would be


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confidential. The identity of automakers using Atkinson technologies is

public, as is the fuel economy of their marketed vehicles. See

www.fueleconomy.gov. But even assuming the identities are

confidential, NHTSA provides no information about what data (if any)

the automaker(s) provided. And the statement that an automaker “saw

no benefit” simply begs the question: “Compared to what?” As NHTSA

stresses elsewhere, technology effectiveness “often differs significantly

depending on the vehicle type” “and the way in which the technology

interacts with other technologies on the vehicle.” 87 Fed. Reg. at 25,765.

Without information about what was being compared, it is not possible

to assess the validity of the “no benefits” assertion.

     NHTSA also does not specify how many automakers it spoke to. If

it was only one or two, the agency would be contradicting its position

that it does not base standards on the capabilities of individual

automakers. See, e.g., id. at 25,969. And it is implausible that NHTSA

is recounting the views of every automaker that has deployed Atkinson

technologies on light trucks. As the agency itself notes, these are

“sophisticated, for-profit enterprises” who look before they leap. See,

e.g., id. at 25,721, 25,976. It beggars belief that all of these automakers


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would invest in designing and mass producing these engines without

confidence that they provide some “benefits.”

     Light trucks come in all shapes and sizes, and NHTSA stresses

that vehicle efficiency is a “complex” product of all the various

technologies on the vehicle. Id. at 25,765. Just because one automaker

chose to calibrate a particular truck one way does not mean it had to do

so. Nor does the behavior of one automaker say anything about whether

another automaker would have to calibrate a different truck in the

same way. Cf. JA___[NHTSA–2021–0053–1521–A2_4–9] (describing

reduced-weight Ford F-150 with all-aluminum construction).

     Moreover, even assuming the agency received actual data from an

automaker, NHTSA cannot rely on it “without ascertaining the

accuracy of the data” or “the methodology used” to generate it. City of

New Orleans v. S.E.C., 969 F.2d 1163, 1167 (D.C. Cir. 1992). Failure to

do so “is arbitrary agency action” and findings based on that data “are

unsupported by substantial evidence.” Id. As far as NHTSA has

disclosed, the agency blindly relied on an automaker’s statement. Any

such reliance was arbitrary. See In re NTE Connecticut, LLC, 26 F.4th

at 988-989 (To rely on outside analysis, “[a]n agency must either


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critically review [a] third party’s analysis or perform its own,” even

where “a matter implicates confidential information.”) (cleaned up).

     In contrast, commenters provided public data showing that pickup

engines are sized to handle higher “peak” loads than engines in other

vehicle types, and therefore operate at a lower load relative to their

capacity the rest of the time. 87 Fed. Reg. at 25,790. As a result, given

the data that pickups rarely operate near peak load, this means that

pickups “will spend more time in Atkinson [mode] . . . not less.” Id.

Because the efficiency gain in a vehicle employing an Atkinson-enabled

engine is “directly related” to the time spent in Atkinson mode, id. at

25,786, the only reasonable conclusion is that pickups will see improved

efficiency using properly calibrated Atkinson-enabled engines.

     The agency never disputes this data. In response to it, the agency

points only to three comments submitted by automakers in the prior

round of fuel economy rulemaking in 2018. Tellingly, NHTSA does not

cite any automaker comment from the current rulemaking supporting

its new rationale. None of the 2018 comments provide any relevant data

on duty cycles, torque reserves, or engine calibrations. Further, while

the agency says Toyota’s 2018 comment “exemplifie[s]” the agency’s


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position in this rulemaking, 87 Fed. Reg. at 25,790, the agency quotes

selectively. NHTSA omits preceding sentences that make clear Toyota

was urging regulators not to expect the Tacoma pickup equipped with

one Atkinson engine to achieve the same efficiency as a Camry sedan

equipped with a different Atkinson engine. JA___[NHTSA–2018–0067–

12376–A1_6–7]. That says nothing about whether the Tacoma can

benefit from an Atkinson-enabled engine. Indeed, Toyota has marketed

the Atkinson-enabled Tacoma for the past seven years.13

     In short, the record shows that automakers can improve pickup

truck fuel economy using Atkinson technologies. NHTSA “has failed to

offer [a] rational connection between [the record] facts” and its

conclusion that the technology is infeasible for use on pickups. State

Farm, 463 U.S. at 56. The agency’s decision to set standards in reliance

on modeling that excluded this technology was arbitrary. Id.




13 See, e.g., Toyota, 2023 Tacoma SR,

https://www.toyota.com/configurator/build/step/model:engine-drive-
transmission/year/2023/series/tacoma/model/7594/ (2023 Tacoma SR
with 3.5 liter, 6-cylinder Atkinson-cycle engine) (visited Nov. 17, 2022).
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     B.   The agency arbitrarily extended the pickup truck
          exclusion to a million sport utility vehicles and cars

     Even if the record supported the assumption that pickups cannot

be made more efficient with Atkinson technologies, there is no rational

basis for NHTSA to extend that assumption to the more than one

million sport utility vehicles and cars sold each year14 that share an

engine with a pickup truck. See 87 Fed. Reg. at 25,789. The agency

justifies the pickup exclusion based on the engine calibration

supposedly needed for a truck’s duty cycle. But NHTSA does not explain

or justify why all the excluded sport utility vehicles and cars would

require the same calibration. The extension is thus arbitrary and

capricious. See Genuine Parts Co., 890 F.3d at 312.

     As with pickups, see Section I.A supra, there is no record evidence

that the excluded sport utility vehicles and cars have “duty cycles” so

extreme that it is infeasible for automakers to install Atkinson-enabled

engines. Indeed, for virtually every type of vehicle that NHTSA

assumes cannot adopt this technology, there is a real-world example on

the road today that uses it. Sport utility vehicles using Atkinson



14 JA___[Model_Files] (Central_Analysis/input/market_data_ref.xlsx,

Vehicles_tab, Columns V, H, Y, Engines_tab, Columns C, H, AD–AF).
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engines range from larger six-cylinder models like the Hyundai

Palisade and Kia Telluride, 87 Fed. Reg. at 25,789 n.230, to

“performance” models like the Toyota Highlander.15 Blocking other new

vehicles of this type from receiving Atkinson engines in the compliance

model thus runs counter to the real-world evidence that such

applications are feasible.

     NHTSA may argue, post hoc, that there is an economic justification

for extending the exclusion to these vehicles. Elsewhere, the agency

describes cross-vehicle engine sharing as a cost-saving measure. See 87

Fed. Reg. at 25,760. But the agency did not articulate this as the reason

for extending the Atkinson technology exclusion to non-pickups, and its

decision cannot be upheld on that basis now. State Farm, 463 U.S. at 50

(“post hoc rationalizations for agency action” carry no weight).

     Such an argument would fail in any event, because the record does

not support it. First, when an automaker uses the same engine in

multiple vehicles, the agency assumes that automakers will upgrade

the engine on the vehicle that is the sales “leader” first, before




15 JA___[Model_Files] (Central_Analysis/input/market_data_ref.xlsx,

Vehicles_tab, Rows 1269–1270, Column H).
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upgrading the engine on the “follower” vehicles. 87 Fed. Reg. at 25,787.

If so, that approach might make fleet upgrades more economically

practicable overall. But it does not follow that upgrading a “follower”

vehicle first is economically impracticable. 49 U.S.C. § 32902(f) (agency

must consider “economic[ally] practicab[le]” options). Yet NHTSA would

have to categorically assume that it is.

     The lack of record evidence that it is economically impracticable to

upgrade a “follower” sport utility vehicle first is particularly

problematic here. The agency’s compliance model will only select

Atkinson technology for a sport utility vehicle if it is the most cost-

effective option available. JA___[CAFE_Model_Documentation_75_fig.

8]. In other words, NHTSA’s extension of the pickup exclusion blocks

the most cost-effective upgrades, and does so based on an unstated,

unsupported, categorical assumption that they are economically

impracticable. NHTSA’s choice to do so is arbitrary and lacking a

reasoned explanation.

     Further, many sport utility vehicles are the “leader” vehicle for a

shared engine. For example, General Motors shares an engine across

five different vehicle nameplates: two pickups (the Canyon and the


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Colorado) and three sport utility vehicles (the Blazer, the Acadia, and

the Envision).16 But the Envision alone outsells both pickups combined,

and the sport utility vehicles together outsell the pickups together

nearly three to one.17 There is no rational reason to block cost-effective

Atkinson upgrades to the better-selling sport utility vehicles just

because they share an engine with the worse-selling pickups.

     In short, NHTSA’s categorical assumption that Atkinson upgrades

are infeasible on any vehicle that shares an engine with a pickup truck

is unexplained and unsupported. It is thus arbitrary.

     C.   NHTSA erroneously blocked Atkinson upgrades on
          half a million more vehicles than intended

     The agency committed at least two different coding errors that

caused its model to skip consideration of Atkinson technologies on even

more vehicles than the agency intended to exclude. In other words,

these errors block cost-effective Atkinson upgrades even where the

agency says they should be allowed. These errors, affecting half a

million vehicles sold each year, further exaggerated the already inflated


16 JA__ [Model_Files] (Central_Analysis/input/market_data_ref.xlsx,

Engines_tab, Row 3, Vehicles_tab, filter Column H=112501).
17 JA__ [Model_Files] (Central_Analysis/input/market_data_ref.xlsx,

Vehicles_tab, filter Column H=112501, compare Column V).
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costs that NHTSA attributed to more stringent standards. The agency’s

decision to rely on such faulty modeling is arbitrary, even if the agency’s

intended exclusions of pickups and sport utility vehicles could be

justified. But see Section I.A–B supra. There is no possible “rational

connection” between the agency’s finding that the model should allow

some vehicles to upgrade to Atkinson engines and the agency’s error in

blocking those upgrades. See State Farm, 463 U.S. at 56.

     First, the agency arbitrarily blocked more than 440,000 General

Motors vehicles from adopting Atkinson technologies in its modeling.18

These blocked vehicles meet none of the criteria the agency says

renders the use of Atkinson-enabled engines infeasible. Cf. 87 Fed. Reg.

at 25,789.19

     Second, NHTSA erroneously blocked Atkinson upgrades on another

144,000 vehicles with less than 405 horsepower based on the agency’s




18 JA___[Model_Files] (Central_Analysis/input/market_data_ref.xlsx,

Vehicles_tab, filter Column H=113601 and 113602).
19 The error also arbitrarily blocks these vehicles from adopting hybrid

Atkinson technologies as well. Compare 87 Fed. Reg. at 25,812, with
JA___[Model_Files] (Central_Analysis/input/market_data_ref.xlsx,
Vehicles_tab, e.g., Row 5, Columns BU–BX, CC–CD).
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high-horsepower exclusion.20 The agency states that it does “not allow

vehicles with 405 or more horsepower” to adopt Atkinson engines.” 87

Fed. Reg. at 25,789 (emphasis added). But NHTSA blocked Atkinson

upgrades in vehicles with less than 405 horsepower. This appears to be

an implementation error, whereby if the engine in the less-than-405-

horsepower vehicle is used in a different vehicle with more than 405

horsepower, the agency erroneously blocked the less-than-405-

horsepower vehicle in the compliance model. As the agency explains

elsewhere, an engine’s horsepower can be “significantly different” based

on the vehicle in which it is installed. 87 Fed. Reg. at 25,787. The

excluded lower horsepower vehicles do not meet the stated criterion and

it was arbitrary for the agency to block them in the model.

II. Remand Without Vacatur Is the Appropriate Remedy

     This Court should grant NRDC’s petition and remand the Final

Rule to the agency without vacatur. Although vacatur is typically the

remedy for arbitrary and capricious agency action, see Bhd. Of




20JA___[Model_Files] (Central_Analysis/input/market_data_ref.xlsx,
Vehicles_tab/Engines_tab, filter for HCR-blocked vehicles, eliminate
vehicles blocked for reasons other than horsepower; read Vehicles_tab
Column BA).
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Locomotive Eng’rs & Trainmen v. Fed. R.R. Admin., 972 F.3d 83, 117

(D.C. Cir. 2020), remand without vacatur is appropriate where a

petitioner challenges a regulatory standard as too lax, and vacatur

would result in either no standard or a laxer standard springing into

place. See, e.g., Wisconsin v. EPA, 938 F.3d 303, 336–337 (D.C. Cir.

2019); Envtl. Def. Fund v. EPA, 898 F.2d 183, 190 (D.C. Cir 1990).

     For example, in U.S. Sugar Corp. v. EPA, public interest groups

successfully challenged an agency action establishing insufficient

standards for pollution from industrial boilers. See 844 F.3d 268, 270

(D.C. Cir. 2016). Because vacating the standards would have removed

the limited protection of the insufficient standards and allowed greater

pollution until the agency “complete[d] another rulemaking and

implement[ed] replacement standards,” this Court remanded without

vacatur to avoid “defeat[ing] . . . the enhanced protection” sought by

petitioners. Id. (quotations omitted); see also North Carolina v. EPA,

550 F.3d 1176, 1178 (D.C. Cir. 2008). In general, this Court does not

vacate regulations where doing so would undermine the public’s

interest in the enhanced protection the regulations were supposed to

provide. Wisconsin, 938 F.3d at 336–337.


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     Congress has made the policy choice that “maximum feasible” fuel

economy standards are in the public interest. 49 U.S.C. § 32902(a).

Although the standards challenged here are not the maximum feasible,

vacating them would, at least temporarily, leave laxer standards in

place. That result would undermine the statute’s “overarching goal of

fuel conservation,” Ctr. for Auto Safety, 793 F.2d at 1340 (1986), and

leave petitioner NRDC and its members worse off than under the Final

Rule. See, e.g., 87 Fed. Reg. at 26,004 (more stringent standards reduce

fuel consumption, achieve greater reductions in climate pollution, and

save consumers more in fuel costs). Accordingly, the Court should

remand the Final Rule to the agency without vacatur.

                            CONCLUSION

     This Court should remand the Final Rule, without vacatur, for the

agency to correct its errors regarding the exclusion of Atkinson-enabled

engines and to reconsider the feasibility of more stringent standards.




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Dated: November 17, 2022        Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing brief was composed in 14-point

Century Schoolbook font and complies with applicable typeface and

type-style requirements. The brief contains 9,371 words and complies

with the type-volume limitations of this Court’s order of September 22,

2022. ECF No. 1965625.


                                             /s/ Pete Huffman
                                             Pete Huffman
Dated: November 17, 2022




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                       CERTIFICATE OF SERVICE
      I hereby certify that on November 17, 2022, I filed the foregoing

brief and attachments on all parties through the Court’s electronic case

filing (ECF) system.


                                             /s/ Pete Huffman
                                             Pete Huffman




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